Case 3:20-ap-03007   Doc 141-12 Filed 12/14/21 Entered 12/14/21 16:43:55   Desc
                             Exhibit 12 Page 1 of 4




                            EXHIBIT
                              16




                     EXHIBIT 12
               Case 3:20-ap-03007        Doc 141-12 Filed 12/14/21 Entered 12/14/21 16:43:55                         Desc
                                                 Exhibit 12 Page 2 of 4
         From:                  Jeff Hoops </0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                                (FYDIBOHF23SPDLT)/CN=RECIPIENTS
                                /CN=02242A9B39D647FE8FA14C1C3C4DEE79-JEFF HOOPS>
        To:                     Steve Belcher
        CC:                     Brent Walls
        Sent:                   30 -May-19 9:05:37 PM
        Subject:                RE. **EXTERNAL**RE. Jason May - LCC Contact




        Brent:

        Would you please send the Clearwater Investment Account statement to Steve as per his request.


        Steve:

        As you can see Clearwater Investment is 99% owned by the family trust and 1% owned by Patricia Hoops,
        my wife and is set up as a holding company for all of my non -coal related investments. These entities
        provide K1 's to Clearwater, then Clearwater is taxed to me personally due to the structure of the family trust.
        Obviously, this is set up this way for tax purposes as it allows all of this to be passed on to future generations
        tax free as the 1% is the GP so that gives us the control needed and the 99% is directed by the Trustees,
        which are my 3 sons, Jeffery, Jeremy and Josh.

        As for Lexington Coal is was formed in 2004 out of the bankruptcy of Horizon Natural Resources with what
        was viewed as the good assets going to ICG and what was viewed as the bad assets going to LCC.
        Fortunately, LCC was able to take these bad assets, over 300 permits and $400mm in liabilities and
        monetize them and put some back in production. I got involved in 2008 and provided the path for the passive
        investors to get over $100mm out of the company with me receiving some cash and ending up owning 100%
        of LCC.

        At the time I took over there were 80 permits and approximately $40mm of cash on hand in the company.
        We worked that down to 11 permits and $30mm cash with $10mm being distributed over the next 9 years,
        then in 2017 out of the bankruptcy of Alpha Natural Resources, we are doing the same thing again with LCC
        acquiring 300 permits, a number of facilities, plus 300 mobile equipment assets, $300mm in liabilities and
        $300nnm in cash & notes from Alpha to take over these assets. At the time we took control these assets
        were idle and losing $6mm per month. We are now producing over 3mm tons per year and expect the
        company to be cash flow positive in June and staying that way going forward as we put more assets in
        production.

        The company has $180mm of cash and notes, plus owns 30% of KEVVA Bond Company valued at plus
        $50mm. We expect to start building cash going forward and do not envision burning through any additional
        cash as a result of the turnaround in this company, exactly as we done out of the Horizon bankruptcy. This is
        a proven model and are excited about the prospects for future growth and appreciate Community Trust
        considering being our partner in growing this company as well as our other investment
        opportunities...Sincerely           Jeff




        JeffHoops
        Blackjewel L.L.C.
        1051 Main Street
        Milton, WV 25541

        Email: jeff.hoops©blackjewel.us
        Office: 304-390-5920
        Fax: 304-290-5975
        Cell: 304-541-2059


CONFIDENTIAL                                                                                                         DEBTORSUB 006954
               Case 3:20-ap-03007            Doc 141-12 Filed 12/14/21 Entered 12/14/21 16:43:55                                 Desc
             iV;3£15                                 Exhibit 12 Page 3 of 4
          of Coal

        The information contained in this e-mail is intended only for the use of the individual above. If you receive this
        message in error, please do not read it, notify the sender and then delete.




        From: Steve Belcher [mailto:belchest@ctbi.corn]
        Sent: Thursday, May 30, 2019 4:50 PM
        To: Jeff Hoops <Jeff.Hoops©blackjewel.us>
        Subject: Re: **EXTERNAL**RE: Jason May - LOO Contact

        Jeff I have been working with Ed and Brent and now reaching out to Jason

        I am going to work on two loans one for Clearwater and one for Lexington Coal

        Could you send me a copy of the investment account pledged on the line with United on Clearwater
        I would like to go to committee on Clearwater and Lexington Coal at the same time

        I know how busy you are but can you give me a brief paragraph on Clearwater and Lexington how
        they evolved and what they are active in today (just need for my write up presentation)

        ab

        Steve Belcher
        Senior Vice President
        Commercial Lending
        Phone: 606-437-3287
        Fax:606-2188312

        CONFIDENTIALITY NOTICE: This e-mail message, including any attachments, is for the sole use of the intended
        recipient(s) and may contain confidential or proprietary information. Any unauthorized review, use, disclosure
        or distribution is prohibited. The contents of this e-mail message and any attachments are confidential and
        are intended solely for addressee. The information may also be legally privileged. If you are not the intended
        recipient, immediately contact the sender by reply e-mail and destroy all copies of the original message.


        From: Jeff Hoops <Jeff.Hoopsgblackjewel.us>
        Sent: Thursday, May 30, 20194:41:52 PM
        To: Brent Walls; Steve Belcher
        Cc: jason.mayglexingtoncoal.us
        Subject: **EXTERNAL**RE: Jason May - LOO Contact

         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize
         the sender and know the content is safe.

        Jason:

        If you can provide the 12/31/18 collapsed Balance Sheet and P&L to Steve at this time that would be great.
        Then once we have actuals through May loaded into the model and a new Forecast done we can provide
        that to Steve for his review as well      Thanks   Jeff



        .BLACKJEWE
        JeffHasps
        Blackjewel L.L.C.
        1051 Main Street
        Milton, WV 25541



CONFIDENTIAL                                                                                                                      DEBTORSUB 006955
               Case 3:20-ap-03007                        Doc 141-12 Filed 12/14/21 Entered 12/14/21 16:43:55                                                            Desc
        Email: jeff.hoopsablackjewel.us                          Exhibit 12 Page 4 of 4
        Office: 304-390-5920
        Fax: 304-290-5975
        Cell: 304-541-2059
           Frieree
           of cdoi
        The information contained in this e-mail is intended only for the use of the individual above. If you receive this
        message in error, please do not read it, notify the sender and then delete.




        From: Brent Walls [mailto:Brent.WallsACLEARWATERIH.us]
        Sent: Thursday, May 30, 2019 4:17 PM
        To: Steve Belcher <belchestectbi.com>
        Cc: jason.mayglexingtoncoal.us; Jeff Hoops <Jeff.Hoopsnblackjewel.us>
        Subject: Jason May - LCC Contact

        Steve,

        As discussed, I have copied Jason May on this email. He is the controller at LCC and can provide financial
        information to you. His number is 606-625-5316

        Thank you,

        Brent T. Walls, CPA
        Chief Financial Officer

        Clearwater Investment Holdings, LLC
        1051 Main Street, Suite 100
        Milton, WV 25541

        T 304-390-5971 ext *
        M 304-972-2650
        F 304-390-6006




        CONFIDENTIALITY NOTICE: This message contains confidential information and is intended solely for the use of the individual or entity to which it is addressed. If
        you are not the named addressee you should not disseminate, distribute or copy this e-mail. Please notify the sender immediately by e-mail if you have received this
        message by mistake and delete it from your system. E-mail transmission cannot be guaranteed to be secure or error-free as information could be intercepted,
        corrupted, lost, destroyed, arrive late or incomplete, or contain viruses. The sender therefore does not accept liability for any errors or omissions in the contents of
        this message which arise as a result of e-mail transmission. if you are not the intended recipient you are notified that disclosing, copying, distributing or taking any
        action in reliance on the contents of this information is strictly prohibited.




CONFIDENTIAL                                                                                                                                                             DEBTORSUB_006956
